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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

WESTERN HEALTHCARE, LLC,                    §
                                            §
              Plaintiff,                    §
                                            §
V.                                          §           No. 3:16-cv-565-L
                                            §
NATIONAL FIRE AND MARINE                    §
INSURANCE COMPANY, ET AL.,                  §
                                            §
              Defendants.                   §

        FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF THE
                  UNITED STATES MAGISTRATE JUDGE

        Defendant Healthcare Liability Solutions, Inc. filed a motion to dismiss for

failure to state a claim. See Dkt. No. 4. Plaintiff Western Healthcare, LLC filed a

motion to remand. See Dkt. No. 7. Defendant Raj Mehta filed a motion to dismiss for

lack of personal jurisdiction or, alternatively, for failure to state a claim. See Dkt. No.

11. Defendant Thomas Meierant filed a Motion to Dismiss for Lack of Personal

Jurisdiction or, Alternatively, For Failure to State a Claim. See Dkt. No. 17.

        United States District Judge Sam A. Lindsay referred these motions to the

undersigned United States magistrate judge for findings and recommendation. See

Dkt. Nos. 13 & 20.

        The undersigned magistrate judge now issues the following findings of fact,

conclusions of law, and recommendation.

                                      Background

        Plaintiff Western Healthcare, LLC (“Western” or “Plaintiff”) brought suit in the

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68th Judicial District Court of Dallas County, Texas against Defendants National Fire

and Marine Insurance Company (“NFM”), Healthcare Liability Solutions, Inc. (“HLS”),

The Medical Protective Company (“MedPro”), Berkshire Hathaway Inc. (“Berkshire”),

Raj Mehta (“Mehta”), and Thomas Meierant (“Meierant”) (collectively, “Defendants”).

According to Plaintiff’s Original Petition [Dkt. No. 1-3], this lawsuit involves a series

of claims brought by Western, a physician staffing service, against its insurance

broker, insurance companies, insurance claims handler and their employees.

          According to the Original Petition, which the court takes as true for the purpose

of these motions, Western retained HLS to assist it in finding appropriate malpractice

insurance. HLS submitted a proposal and policy from NFM, a subsidiary of Berkshire,

and represented that the policy and insurance company met Western’s specific needs.

Relying on HLS’s recommendation, Western accepted the proposal and obtained the

policy.

          In October 2012, Western and one of its physicians were sued in Illinois state

court. Western reported the claim as required by the policy to Raj Mehta, who was

employed by Berkshire in its Reinsurance Group. The lawsuit fell within the coverage

of the policy NFM provided to Western and NFM accepted tender of the defense

without reservations. Mehta selected defense counsel for Western and assigned the

claims handling responsibilities to MedPro, who assigned responsibility over the case

to its agent, Thomas Meierant.

          During discovery, the plaintiff in the Illinois lawsuit requested that Western

produce a copy of its insurance policy and state the amount of insurance available to

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resolve claims. Western’s defense counsel requested the information from Meireant.

Western was not provided a copy of the full policy. Instead, Meierant instructed

Western’s defense counsel to respond that the full policy limits were available to settle

the claims, and they did so. Shortly after Western’s discovery responses, the plaintiff

voluntarily dismissed Western from the Illinois lawsuit.

      During a mediation in August 2015, the Illinois plaintiff’s counsel claimed that

he was notified for the first time that the policy was an eroding limits policy and that

the policy had substantially eroded. The Illinois plaintiff immediately filed a motion

for sanctions, claiming that Western’s discovery responses were knowingly false and

that Western’s voluntary dismissal was procured by fraud. The attorneys retained by

NFM to defend Western appeared at the hearing and, without Western’s knowledge

or consent, agreed that Western should be brought back into the lawsuit to allow the

court to adjudicate the sanctions motion against it and agreed to waive notice and

accept service on Western’s behalf. After doing so, NFM’s chosen defense counsel

claimed a conflict existed and they could no longer represent Western with respect to

the sanctions issue. Western asked NFM to appoint new counsel under the NFM policy,

but NFM refused. Western was then forced to retain counsel to defend itself in the

Illinois lawsuit and incurred attorney’s fees and expenses.

      Western then brought this lawsuit in Texas state court. Western sued NFM for

breach of contract and breach of the common law duty of good faith and fair

dealing/bad faith refusal to defend. And Western sued all Defendants for violations of

chapters 541 and 542 of the Texas Insurance Code, violations of the Texas Deceptive

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Trade Practices Act, and negligence. See Dkt. No. 1-3.

      Western alleged that NFM breached it contractual duty under the terms of the

policy to defend Western in the Illinois lawsuit, including its duty to provide

replacement defense counsel when the counsel NFM originally assigned refused to

defend Western in the sanctions proceedings. Western alleged that NFM breached the

common law duty of good faith and fair dealing and acted in bad faith when it denied

Plaintiff’s request for replacement counsel.

      Western alleged that all Defendants violated Chapter 541 of the Texas

Insurance Code by engaging in unfair methods of competition and unfair or deceptive

acts or practices, including but not limited to making, issuing, circulating, and/or

causing to be made, issued or circulated one or more statements misrepresenting the

terms of the policies and the benefits and advantages promised by the policies, see TEX.

INS. CODE §§ 541.051(1)(A), (B); misrepresenting the policies by making an untrue

statement of material fact, failing to state a material fact necessary to make other

statements made not misleading, making a statement in a manner that would mislead

a reasonably prudent person to a false conclusion of material fact, making a material

misstatement of law, and failing to disclose a matter required by law to be disclosed,

see id. § 541.061; misrepresenting the policies by making, publishing, disseminating,

and/or circulating an advertisement, announcement, or statement containing an

untrue, deceptive, or misleading assertion, representation, or statement regarding the

business of insurance or a person in the conduct of the person’s insurance business, see

id. § 541.052(a); engaging in unfair settlement practices by misrepresenting a material

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fact or policy provision relating to the coverage at issue, see id. § 541.060(a)(1), failing

to promptly provide a reasonable explanation of the basis in the policy, in relation to

the facts or applicable law, for Defendant’s denial of Plaintiff’s claim, see id. §

651.060(a)(3), and refusing to defend Plaintiff after a claim was properly tendered. Dkt.

No. 1-3 at 8-10;

       Western alleged that all Defendants engaged in one or more acts that

constituted violations of Chapter 542 of the Texas Insurance Code, including but not

limited to knowingly misrepresenting to a claimant pertinent facts or policy provisions

relating to the coverage at issue, see id. § 542.003(b)(1); failing to adopt and implement

reasonable standards for the prompt investigation of claims arising under the policies,

see id. § 542.003(b)(3); and failing to attempt in good faith to effect a prompt, fair and

equitable settlement of Plaintiff’s claim even though liability was reasonably clear, see

id. § 542.003(b)(4). Dkt.No. 1-3 at 10.

       Western alleged that all Defendants violated the Texas Deceptive Trade

Practices Act by using false, misleading, or deceptive acts or practices in connection

with the services that Western acquired, including causing confusion or

misunderstanding about the source, sponsorship, approval, or certification of services,

see TEX. BUS. & COM. CODE § 17.46(b)(2); representing that services have sponsorship,

approval, characteristics, ingredients, uses, benefits, or qualities they do not have, or

that a person has a sponsorship, approval, status, affiliation, or connection he does not

have, see id. § 17.46(b)(5); representing that an agreement confers or involves rights,

remedies, or obligations that it does not or that are prohibited by law, see id. §

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17.46(b)(12); failing to disclose information about services that was known at the time

of the transaction if the failure to disclose was intended to induce the consumer to

enter into a transaction that the consumer would not have entered into if the

information had been disclosed, see id. § 17.46(b)(24); and engaging or using

unconscionable acts and practices that, to Western’s detriment, took advantage of

Western’s lack of knowledge, ability, experience or capacity to a grossly unfair degree,

see id. § 17.50(a)(3).

       Western asserted a negligence claim against all Defendants and alleged that

Defendants owed duties to Western, including but not limited to the duty to retain

entities and individuals to competently administer Western’s insurance program and

to competently adjust Western’s claims and oversee the defense of the Illinois lawsuit.

Western further alleged that Defendants breached the duties they owed to Western by

failing to exercise care, either directly or indirectly through the acts and omissions of

those acting within the course and scope of their agency or employment, in selecting

the appropriate insurance program despite knowing Western’s particular insurance

needs, selecting the insurer and program administrator, administering Western’s

insurance program, adjusting Western’s insurance claims, selecting Western’s defense

counsel, working with Western’s defense counsel to answer discovery requests,

overseeing Western’s defense, keeping Western apprised and obtaining Western’s

consent before making critical defense decisions, and providing Western and its

defense counsel with all information necessary to defend itself in the Illinois lawsuit.

Western also alleged that these and other acts and omissions proximately caused

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Western substantial damages.

      Defendants NFM, MedPro, Berkshire, and Meierant (collectively, the “Removing

Defendants”) removed the case to this Court on the basis of diversity jurisdiction. See

Dkt. No. 1. The Removing Defendants contend that they did not need the consent of

either HLS, the only non-diverse Defendant, whom they allege had been improperly

joined to defeat federal jurisdiction, or Mehta, who had not been served at the time of

removal. See id.

      Western seeks a remand based on lack of diversity because both Plaintiff and

one of the Defendants – HLS – are residents of Texas. See Dkt. Nos. 7, 12. The

Removing Defendants contend that HLS was improperly joined for the purpose of

defeating subject matter jurisdiction based on diversity and assert that Western cannot

state a claim against HLS. See Dkt. No. 10.

      HLS seeks dismissal and argues that Western has failed to state a claim against

it, arguing that Western failed to state factual allegations to support its statutory

claims against HLS and that its negligence claims are too conclusory. See Dkt. No. 4.

      Mehta seeks dismissal and argues that he lacks sufficient minimum contacts

with the State of Texas for the exercise of personal jurisdiction over him. Mehta also

argues, in the alternative, that Western has failed to state a claim against him. See

Dkt. No. 11.

      The undersigned now concludes that the motion to remand should be granted

and the Court should not reach the pending motions to dismiss because the Court does

not have jurisdiction.

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                                  Legal Standards

      A defendant may remove an action filed in state court to federal court if the

action is one that could have originally been filed in federal court. See 28 U.S.C. §

1441(a). And a defendant may remove a case that includes a claim arising under the

Constitution, laws, or treaties of the United States (within the meaning of 28 U.S.C.

§ 1331) and a claim not within the Court’s original or supplemental jurisdiction or that

has been made nonremovable by statute, so long as the action would be removable

without the inclusion of the nonremovable claim. See id. § 1441(c)(1). Statutes that

authorize removal are meant to be strictly construed, and any doubt as to the propriety

of removal should be resolved in favor of remand. See Hood ex rel. Miss. v. JP Morgan

Chase & Co., 737 F.3d 78, 89 (5th Cir. 2013); In re Hot-Hed Inc., 477 F.3d 320, 323 (5th

Cir. 2007).

      The removing party bears the burden of establishing jurisdiction. See Miller v.

Diamond Shamrock Co., 275 F.3d 414, 417 (5th Cir. 2001). A federal court’s

jurisdiction is limited, and federal courts generally may hear a case of this nature only

if it involves a question of federal law or where diversity of citizenship exists between

the parties. See 28 U.S.C. §§ 1331, 1332. “As a general rule, absent diversity

jurisdiction, a case will not be removable if the complaint does not affirmatively allege

a federal claim.” Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 6 (2003). “[T]he basis

upon which jurisdiction depends must be alleged affirmatively and distinctly and

cannot be established argumentatively or by mere inference.” Ill. Cent. Gulf R. Co. v.

Pargas, Inc., 706 F.2d 633, 636 (5th Cir. 1983) (citation and internal quotation marks

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omitted). “If at any time before final judgment it appears that the district court lacks

subject matter jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c).

      In diversity cases under 28 U.S.C. § 1332, each plaintiff’s citizenship must be

diverse from each defendant’s citizenship, and the amount in controversy must exceed

$75,000. See 28 U.S.C. § 1332(a). Failure to allege adequately the basis of diversity

requires remand. See Stafford v. Mobil Oil Corp., 945 F.2d 803, 805 (5th Cir. 1991). If

no amount of damages has been alleged in the state court petition, the defendant must

prove by a preponderance of the evidence that the amount in controversy exceeds the

jurisdictional minimum. See 28 U.S.C. § 1446(c)(2); De Aguilar v. Boeing Co., 47 F.3d

1404, 1409 (5th Cir. 1995). And the Court cannot exercise jurisdiction if any plaintiff

shares the same citizenship as any defendant. See Corfield v. Dallas Glen Hills LP, 355

F.3d 853, 857 (5th Cir. 2003). “For diversity jurisdiction, the party asserting federal

jurisdiction must distinctly and affirmatively allege [ ] the citizenship of the parties.”

Howery, 243 F.3d at 919.

      Further, an action may not be removed on the basis of diversity jurisdiction if

any defendant, properly joined and served, is a citizen of the state where the plaintiff

filed suit. See 28 U.S.C. § 1441(b)(2). Failure to comply with this requirement renders

the removal defective. See In re 1994 Exxon Chem. Fire, 558 F.3d 378, 391 (5th Cir.

2009) (removal of case in violation of forum-defendant rule is defective).

      Likewise, based on the so-called rule of unanimity, if an action is removed under

Section 1441(a) based on diversity jurisdiction, “all defendants who have been properly

joined and served must join in or consent to the removal of the action”; “[e]ach

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defendant shall have 30 days after receipt by or service on that defendant of the initial

pleading or summons described in paragraph (1) to file the notice of removal”; and, “[i]f

defendants are served at different times, and a later-served defendant files a notice of

removal, any earlier-served defendant may consent to the removal even though that

earlier-served defendant did not previously initiate or consent to removal.” 28 U.S.C.

§ 1446(b)(2)(A)-(C). But, if a case is removed under Section 1441(c) based on federal

question jurisdiction over a claim, “only defendants against whom [a claim arising

under the Constitution, laws, or treaties of the United States (within the meaning of

28 U.S.C. § 1331)] has been asserted are required to join in or consent to the removal

under” Section 1441(c)(1). Id. § 1441(c)(2).

      A defendant alleging improper joinder has the heavy burden of “demonstrating

either ‘(1) actual fraud in the pleading of jurisdictional facts, or (2) inability of the

plaintiff to establish a cause of action against the non-diverse party in state court.’”

Crockett v. R.J. Reynolds Tobacco Co., 436 F.3d 529, 532 (5th Cir. 2006) (quoting Travis

v. Irby, 326 F.3d 644, 646-47 (5th Cir. 2003)); see also Smallwood v. Ill. Cent. R.R. Co.,

385 F.3d 568, 576 (5th Cir. 2004) (en banc) (describing the “heavy burden” on the party

asserting improper joinder and noting that, “until the removing party does so, the court

does not have the authority to do more” and “lacks the jurisdiction to dismiss the case

on its merits”). Under the second prong, the standard is whether the defendant has

demonstrated that there is no reasonable basis to predict that the plaintiff might be

able to recover against the in-state defendant. See Smallwood, 385 F.3d at 573.

Ordinarily, the court must conduct a Rule 12(b)(6)-type analysis, examining the

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allegations in the complaint to determine whether the plaintiff has stated a claim

against the non-diverse defendants. See Larroquette v. Cardinal Health 200, Inc., 466

F.3d 373, 376 (5th Cir. 2006). If, however, the complaint has “omitted discrete facts,

the district court may, in its discretion, pierce the pleadings and conduct a summary

inquiry.” Id. But the United States Court of Appeals for the Fifth Circuit has

“caution[ed] that a summary inquiry is appropriate only to identify the presence of

discrete and undisputed facts that would preclude plaintiff's recovery against the in-

state defendant.” Smallwood, 385 F.3d at 573-74.

      The Fifth Circuit recently clarified that the federal pleading standard, not a

state pleading standard, applies to determine whether a nondiverse defendant has

been improperly joined. See Int’l Energy Ventures Mgmt., L.L.C. v. United Energy Grp.,

Ltd., 818 F.3d 193, 200-01 (5th Cir. 2016) (abrogating three post-Smallwood Fifth

Circuit cases applying a state pleading standard instead the federal pleading

standard). The “12(b)(6)-type analysis ... is shorthand for the federal pleading standard

itself ... promulgated by the Supreme Court in the Bell v. Twombly and Ashcroft v.

Iqbal opinions.” Id. at 203.

      In deciding a Federal Rule of Civil Procedure 12(b)(6) motion, the Court must

“accept all well-pleaded facts as true, viewing them in the light most favorable to the

plaintiff.” In re Katrina Canal Breaches Litig., 495 F.3d 191, 205–06 (5th Cir. 2007).

To state a claim upon which relief may be granted, Plaintiffs must plead “enough facts

to state a claim to relief that is plausible on its face,” Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007), and must plead those facts with enough specificity “to raise

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a right to relief above the speculative level.” Id. at 555. “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). “The plausibility standard is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. “A claim for relief is implausible on its face when ‘the well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct.’”

Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d 787, 796 (5th Cir. 2011) (quoting

Iqbal, 556 U.S. at 679).

       While, under Federal Rule of Civil Procedure 8(a)(2), a complaint need not

contain detailed factual allegations, Plaintiffs must allege more than labels and

conclusions, and, while a court must accept all of the Plaintiffs’ allegations as true, it

is “not bound to accept as true a legal conclusion couched as a factual allegation.” Iqbal,

556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). A threadbare or formulaic

recitation of the elements of a cause of action, supported by mere conclusory

statements, will not suffice. See id. But, “to survive a motion to dismiss” under

Twombly and Iqbal, a plaintiff need only “plead facts sufficient to show” that the

claims asserted have “substantive plausibility” by stating “simply, concisely, and

directly events” that Plaintiff contends entitle him or her to relief. Johnson v. City of

Shelby, Miss., 574 U.S. ____, 135 S. Ct. 346, 347 (2014) (per curiam) (citing FED. R. CIV.

P. 8(a)(2)-(3), (d)(1), (e)). The United States “Supreme Court has made clear that a Rule

12(b)(6) motion turns on the sufficiency of the ‘factual allegations’ in the complaint.”

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Smith v. Bank of Am., N.A., 615 F. App’x 830, 833 (5th Cir. 2015) (quoting Johnson,

135 S. Ct. at 347), and the Federal Rules of Civil Procedure “do not countenance

dismissal of a complaint for imperfect statement of the legal theory supporting the

claim asserted,” Johnson, 135 S. Ct. at 346.

       A court cannot look beyond the pleadings in deciding a Rule 12(b)(6) motion.

Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999). Pleadings in the Rule 12(b)(6)

context include attachments to the complaint. In re Katrina Canal Breaches Litig., 495

F.3d 191, 205 (5th Cir. 2007). Documents “attache[d] to a motion to dismiss are

considered to be part of the pleadings, if they are referred to in the plaintiff’s complaint

and are central to her claim.” Collins v. Morgan Stanley Dean Witter, 224 F.3d 496,

498-99 (5th Cir. 2000) (quoting Venture Assocs. Corp. v. Zenith Data Sys. Corp., 987

F.2d 429, 431 (7th Cir. 1993)). “Although the Fifth Circuit has not articulated a test for

determining when a document is central to a plaintiff’s claims, the case law suggests

that documents are central when they are necessary to establish an element of one of

the plaintiff's claims. Thus, when a plaintiff's claim is based on the terms of a contract,

the documents constituting the contract are central to the plaintiff’s claim.” Kaye v.

Lone Star Fund V (U.S.), L.P., 453 B.R. 645, 662 (N.D. Tex. 2011). “However, if a

document referenced in the plaintiff’s complaint is merely evidence of an element of the

plaintiff's claim, then the court may not incorporate it into the complaint.” Id.

       In addition, “it is clearly proper in deciding a 12(b)(6) motion to take judicial

notice of matters of public record.” Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th

Cir. 2007); accord Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2008)

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(directing courts to “consider the complaint in its entirety, as well as other sources

courts ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in

particular, documents incorporated into the complaint by reference, and matters of

which a court may take judicial notice”).

                                       Analysis

Motion to Remand

      In their Notice of Removal, the Removing Defendants allege that Plaintiff

Western is a citizen of Texas, NFM is a citizen of Nebraska, MedPro is a citizen of

Indiana, Berkshire is a citizen of Nebraska, Mehta is a citizen of Connecticut, and

Meierant is a citizen of Missouri. They also assert that the Court should disregard the

citizenship of Defendant HLS because it was improperly joined solely to defeat federal

jurisdiction. See Dkt. No. 1-3 at 5-6. There is no dispute that the amount-in-controversy

requirement has been met.

      “When a defendant removes a case to federal court on a claim of improper

joinder, the district court’s first inquiry is whether the removing party has carried its

heavy burden of proving that the joinder was improper. Indeed, until the removing

party does so, the court does not have the authority to do more; it lacks the jurisdiction

to dismiss the case on its merits. It must remand to the state court.” Smallwood, 385

F.3d at 576.

      Because Defendant HLS is a citizen of Texas, its inclusion in this action would

defeat diversity unless the Removing Defendants can show that HLS was improperly

joined. See 28 U.S.C. § 1441(b). And, because there is no dispute or allegation of actual

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fraud concerning the fact that both Plaintiff and HLS are Texas residents, the sole

concern in this case is whether, as a matter of law, Plaintiff has alleged a valid state-

law cause of action against HLS. See Griggs v. State Farm Lloyds, 181 F.3d 694, 699

(5th Cir. 1999).

       “The test ‘is whether the defendant has demonstrated that there is no possibility

of recovery by the plaintiff against an in-state defendant, which stated differently

means that there is no reasonable basis for the district court to predict that the

plaintiff might be able to recover against an in-state defendant.’” Davidson v. Georgia-

Pacific, L.L.C., 819 F.3d 758, 765 (5th Cir. 2016) (quoting Smallwood, 385 F.3d at

573)). “‘The focus of the inquiry must be on the joinder, not the merits of the plaintiff’s

case.’” Int’l Energy Ventures Mgmt., Inc., 818 F.3d at 200 (quoting Smallwood, 385 F.3d

at 573); see also id. at 206 (in the context of improper joinder, federal court decides only

whether it has jurisdiction over the plaintiff’s claims, not whether the plaintiff has any

claim at all against the non-diverse defendant). In making this determination, the

undersigned will “‘evaluate all of the factual allegations in the plaintiff’s state court

pleadings in the light most favorable to the plaintiff, resolving all contested issues of

substantive fact in favor of the plaintiff’” and “‘then examine relevant state law and

resolve all uncertainties in favor of the nonremoving party.’” Cavallini v. State Farm

Mut. Auto. Ins. Co., 44 F.3d 256, 259 n.8, 264 (5th Cir. 1995) (quoting Green v.

Amerada Hess Corp., 707 F.2d 201, 206 (5th Cir. 1983)).

       Western asserted claims against all Defendants, including HLS, for unfair

methods of competition and unfair or deceptive acts or practices under Chapter 541 of

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the Texas Insurance Code, unfair claim settlement practices under Chapter 542 of the

Insurance Code, and violations of the Texas Deceptive Trade Practices Act based on

allegations that Defendants made misrepresentations about the insurance policy. See

Dkt. No. 1-3 at 8-12. The Removing Defendants contend that Western has failed to

state claims against HLS under either the Texas Deceptive Trade Practices Act or the

Texas Insurance Code because Western does not allege that HLS made any actionable

misrepresentations or establish a causal relationship between HLS’s actions and

Western’s damages. The Removing Defendants also argue that Western’s petition fails

to state a claim because it merely parrots the statutory language and lumps its claims

against HLS into claims asserted against all Defendants.

      According to Western’s petition,

      As part of its business, Western is required to provide insurance coverage
      for the physicians with whom it contracts to perform services at its
      clients’ healthcare facilities. Western retained Defendant HLS to assist
      in meeting its insurance needs. Western provided HLS with the specific
      insurance requirements it needed to fulfill. Having been provided with
      Western’s insurance requirements, HLS submitted a proposal to Western
      purporting to meet Western’s insurance needs. Under the proposal
      submitted, HLS chose to place Western’s insurance with Defendant NFM.
      In reliance upon HLS’s representations as to the quality and content of
      the coverage HLS was proposing and the entities involved in executing
      its insurance program, Western accepted HLS’s proposal and obtained an
      insurance policy from NFM.

Dkt. No. 1-3 at 3. Western also alleged that its counsel later learned that the policy

was an eroding limits policy, which did not meet the specific insurance needs that

Western conveyed to HLS and which HLS represented were met in insurance policy

HLS proposed to Western and which, in reliance on HLS’s representations, Western


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purchased.

       While   Western    does   not   explicitly   state   the   misrepresentation   or

misrepresentations made by HLS, the Court can reasonably infer from Western’s

petition that HLS made representations that the policy it proposed would meet

Western’s specific insurance requirements and that the policy HLS proposed and

Western obtained in reliance on HLS’s representations did not meet those

requirements. And the Court can reasonably infer from Western’s petition, when

viewed in its entirety, that HLS’s alleged misrepresentations concern the eroding

limits nature of the policy. Likewise, the Court can reasonably infer from Western’s

petition, when viewed in its entirety, that it is specific enough to allege a causal

relationship between HLS’s conduct and Western’s alleged damages. According to the

petition, had Western been provided a policy that met its specific insurance needs

instead of the policy that was proposed by HLS, which turned out to be an eroding

limits policy, Western would not have sustained damages. Additionally, even though

Western has incorporated statutory language in its petition and alleged some of its

claims against “all defendants,” it has alleged sufficient facts to support its claims

against HLS under the Texas Insurance Code and Texas Deceptive Trade Practices

Act.

       The Removing Defendants contend that Western has failed to state a negligence

claim against HLS because Western has failed to apply the facts involving HLS to each

of the elements of negligence, and specifically, that Western has failed to state facts

showing that HLS’s alleged breach of its duties as an insurance broker was the

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proximate cause of Western’s damages, that HLS’s conduct was too remote to be

foreseeable under Western’s assertion, and that but for HLS’s failure to propose an

insurance policy that met its specific insurance needs, it would not have suffered

damages.

      Western pleaded that Defendants were negligent and breached their duties to

Western by, among other things, failing to exercise care in “selecting the appropriate

insurance program despite knowing Western’s particular insurance needs” and

“selecting the insurer and program administrator,” which, according to Western’s

petition, when viewed in its entirety, are allegations concerning HLS. Dkt. No. 1-3 at

12.

      Western was required to plead “only enough facts to state a claim to relief that

is plausible on its face,” Twombly, 550 U.S. at 570, which it did.

      The undersigned concludes that the Removing Defendants have not met their

heavy burden to demonstrate that HLS was improperly joined and that, because both

Plaintiff Western and Defendant HLS are citizens of Texas, the Court does not have

diversity jurisdiction, and the case should be remanded to the state court.

Motions to Dismiss

      Because the Court does not have subject-matter jurisdiction on removal, the

undersigned concludes that the Court should not reach the pending motions to dismiss.

See Smallwood, 385 F.3d at 576; see also Riley v. F.A. Richard & Associates, Inc., 46

F. App’x 732 (5th Cir. 2002) (“When faced with a motion to remand, a federal court

must first determine whether it may properly exercise removal jurisdiction before

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ruling on a motion to dismiss the plaintiff’s complaint.”); KIW, Inc. v. Zurich Am. Ins.

Co., No. Civ. A. H-05-3240, 2005 WL 3434977, at *1 n.4 (S.D. Tex. Dec. 14, 2005)

(explaining that “the Court may not rule on Spring’s Motion to Dismiss absent subject

matter jurisdiction. The Court must first consider Plaintiff’s Motion to Remand.

Because the Court ultimately concludes that it lacks subject matter jurisdiction and

remands this case to state court, the Court does not address Spring’s Motion to

Dismiss.”) (citing Heaton v. Monogram Credit Card Bank of Ga., 231 F.3d 994, 1000

(5th Cir. 2000)).

                                 Recommendation

      Plaintiff Western Healthcare LLC’s Motion to Remand [Dkt. No. 7] should be

granted and the District Court should remand the entire action – along with all

pending motions, including Defendant Healthcare Liability Solutions, Inc.’s Motion to

Dismiss Under FRCP 12(b)(6) [Dkt. No. 4], Defendant Raj Mehta’s Motion to Dismiss

for Lack of Personal Jurisdiction or, Alternatively, for Failure to State a Claim [Dkt.

No. 11], Defendant Berkshire Hathaway Inc.’s Motion to Dismiss for Lack of Personal

Jurisdiction or, Alternatively, For Failure to State a Claim [Dkt. No. 16], and

Defendant Thomas Meierant’s Motion to Dismiss for Lack of Personal Jurisdiction or,

Alternatively, For Failure to State a Claim [Dkt. No. 17] – to the 68th District Court,

Dallas County, Texas, from which this action was removed.

      A copy of these findings, conclusions, and recommendation shall be served on all

parties in the manner provided by law. Any party who objects to any part of these

findings, conclusions, and recommendation must file specific written objections within

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14 days after being served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b).

In order to be specific, an objection must identify the specific finding or

recommendation to which objection is made, state the basis for the objection, and

specify the place in the magistrate judge’s findings, conclusions, and recommendation

where the disputed determination is found. An objection that merely incorporates by

reference or refers to the briefing before the magistrate judge is not specific. Failure

to file specific written objections will bar the aggrieved party from appealing the

factual findings and legal conclusions of the magistrate judge that are accepted or

adopted by the district court, except upon grounds of plain error. See Douglass v.

United Servs. Auto. Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).

      DATED: June 29, 2016



                                         _________________________________________
                                         DAVID L. HORAN
                                         UNITED STATES MAGISTRATE JUDGE




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